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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   VICTOR M. CHAVEZ, Bar #113752
     Assistant Federal Defender
 3   Designated Counsel for Service
     2300 Tulare Street, Suite 330
 4   Fresno, California 93721-2226
     Telephone: (559) 487-5561
 5
     Attorney for Defendant
 6   GERMAN ARIAS-DIAZ
 7
 8                                IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )    No. 1:09-cr-0411 AWI
                                                    )
12                         Plaintiff,               )    STIPULATION CONTINUING STATUS
                                                    )    CONFERENCE; ORDER THEREON
13          v.                                      )
                                                    )    Date: April 26, 2010
14   GERMAN ARIAS-DIAZ, et al.                      )    Time: 9:00 a.m.
                                                    )    Judge: Hon. Anthony W. Ishii
15                         Defendant.               )
                                                    )
16                                                  )
17
18          IT IS HEREBY STIPULATED by and between the parties through their respective counsel,
19   Assistant United States Attorney Kevin P. Rooney, Counsel for Plaintiff, and Assistant Federal Defender
20   Victor M. Chavez, Counsel for Defendant German Arias-Diaz, and Joan Jacobs Levie, Counsel for
21   Osvaldo Arias-Diaz, and Jon K. Renge, Counsel for Jose Arias-Diaz, that the status conference currently
22   set for March 22, 2010 at 9:00 a.m. may be continued to April 26, 2010, at 9:00 a.m.
23          This stipulation is entered into at the defendant’s request because additional time is needed for plea
24   negotiations. Assistant United States Attorney, Kevin P. Rooney, does not oppose this continuance.
25          This continuance will conserve time and resources for all parties and the court.
26   ///
27   ///
28   ///
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 1           The parties agree that the delay resulting from the continuance shall be excluded in the interests of
 2   justice, including but not limited to, the need for the period of time set forth herein for effective defense
 3   preparation pursuant to 18 U.S.C. §§ 3161(h)(7)(A) and (B)(ii), (iv).
 4                                                                  BENJAMIN B. WAGNER
                                                                    United States Attorney
 5
 6   DATED: March 18, 2010                                      By: /s/ Kevin P. Rooney
                                                                    KEVIN P. ROONEY
 7                                                                  Assistant United States Attorney
                                                                    Counsel for Plaintiff
 8
 9
10                                                                  DANIEL J. BRODERICK
                                                                    Federal Defender
11
12   DATED: March 18, 2010                                      By: /s/ Victor M. Chavez
                                                                    VICTOR M. CHAVEZ
13                                                                  Assistant Federal Defender
                                                                    Attorney for Defendant
14                                                                  German Arias-Diaz
15
16   DATED: March 18, 2010                                      By: /s/ Joan Jacobs Levie
                                                                    JOAN JACOBS LEVIE
17                                                                  Law Offices of Joan Jacobs Levie
                                                                    Attorney for Defendant
18                                                                  Osvaldo Arias-Diaz
19
20   DATED: March 18, 2010                                      By: /s/ Jon K. Renge
                                                                    JON K. RENGE
21                                                                  Law Office of Jon K. Renge
                                                                    Attorney for Defendant
22                                                                  Jose Arias-Diaz
23
24                                                        ORDER
25   IT IS SO ORDERED.
26   Dated:      March 19, 2010                              /s/ Anthony W. Ishii
     0m8i78                                         CHIEF UNITED STATES DISTRICT JUDGE
27
28

     Stipulation Continuing Status Conference and
     Order Thereon                                          2
